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  1   Robert P. Goe - State Bar No. 137019
      Donald W. Reid – State Bar No. 281743
  2   Charity J. Miller – State Bar No. 286481
      GOE & FORSYTHE, LLP
  3   18101 Von Karman Avenue, Suite 1200
      Irvine, CA 92612
  4   rgoe@goeforlaw.com
      dreid@goeforlaw.com
  5   cmiller@goeforlaw.com
      Telephone: (949) 798-2460
  6   Facsimile: (949) 955-9437
  7   Counsel for Debtor and Debtor in Possession
      Russel Dennis Hiles, III
  8
  9                       UNITED STATES BANKRUPTCY COURT
                  CENTRAL DISTRICT OF CALIFORNIA - RIVERSIDE DIVISION
 10   In re:                                            Case No. 6:16-bk-16877-WJ
 11   RUSSEL DENNIS HILES, III,                         Chapter 11 Proceeding
 12                                                     STIPULATION BETWEEN AND AMONG
                 Debtor and Debtor-in-Possession.       DEBTOR, THE OFFICE OF THE UNITED
 13                                                     STATES TRUSTEE, FARMERS INSURANCE
 14                                                     EXCHANGE AND CHRISTOPHER
                                                        BORGESON TO CONTINUE HEARING ON
 15                                                     DEBTOR’S MOTION FOR AUTHORITY TO:
                                                        (1) EMPLOY CONCIERGE AUCTIONS, LLC
 16                                                         TO AUCTION DEBTOR’S PROPERTY
                                                            (66876 Gist Rd., Bend, OR 97703) AND
 17                                                         PAYMENT OF MARKETING FEES AND
                                                            AUCTIONEER FEES (BUYERS
 18                                                         PREMIUM);
                                                        (2) EMPLOY CASCADE SOTHEBY’S
 19                                                         INTERNATIONAL REALTY AS REAL
                                                            ESTATE BROKER;
 20
                                                        (3) SELL THE PROPERTY AT AUCTION
 21                                                         SUBJECT TO COURT APPROVAL AND
                                                            ALLOWING ACCEPTANCE OF BACK-
 22                                                         UP BIDDERS;
                                                        (4) ESTABLISH BIDDING PROCEDURES;
 23                                                     (5) SCHEDULE HEARING DATE FOR
                                                            APPROVAL OF AUCTION;
 24                                                     (6) PAY SECURED CREDITOR, PROPERTY
                                                            TAXES, AND CLOSING COSTS; AND
 25                                                     (7) APPROVE OF SALE FREE AND CLEAR
                                                            OF LIENS PURSUANT TO 11 U.S.C.
 26                                                         SECTION 363(f)
 27
 28



                                                    1
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                                                             Current Hearing:
  1                                                          Date:    September 13, 2016
                                                             Time:    1:00 p.m.
  2                                                          Ctrm:    304
  3                                                          Proposed Hearing:
                                                             Date:    October 4, 2016
  4
                                                             Time:    1:00 p.m.
  5                                                          Ctrm:    304

             TO THE HONORABLE WAYNE JOHNSON, UNITED STATES BANKRUPTCY
  6
      JUDGE:
  7
             This Stipulation is entered into between and among Debtor and Debtor-in-Possession,
  8
      Russel Dennis Hiles, III (“Debtor”), the Office of the United States Trustee (“OUST”), creditor
  9
      Farmers Insurance Exchange (“FIE”), and creditor Christopher Borgeson (“Borgeson”)
 10
      (collectively, the “Parties”), with regard to the following facts.
 11
             RECITALS
 12
             1.   On August 1, 2016, Debtor filled a voluntary petition under chapter 11 of title 11 of
 13
      the United States Code, commencing the case entitled In re Russel Dennis Hiles, III, Case No.
 14
      6:16-bk-16877 WJ.
 15
             2.   On August 19, 2016, Debtor filed his Motion for an Order for authority to: (1) employ
 16
      Concierge Auctions, LLC (“Concierge”) to auction Debtor’s property located at 66876 Gist Rd.,
 17
      Bend, OR 97703 (“Property”) and authorize payment of marketing fees and auctioneer fees
 18
      (buyers premium) pursuant to that certain Auction Marketing Agreement dated as of August 16,
 19
      2016; (2) employ Cascade Sotheby’s International Realty (“Sotheby’s”) as real estate broker; (3)
 20
      sell the Property at auction subject to Court approval and allowing acceptance of back-up bidders;
 21
      (4) establish bidding procedures; (5) schedule hearing date for approval of auction results; (6) pay
 22
      secured creditor, property taxes, and closing costs; and (7) Approve of sale free and clear of liens
 23
      pursuant to 11 U.S.C. Section 363(f) (“Motion”) [Docket No. 32].
 24
             3.   The Motion is currently set for hearing on September 13, 2016, at 1:00 p.m.
 25
             4.   On August 30, 2016, the OUST filed a limited opposition to the Motion and FIE and
 26
      Borgeson filed oppositions to the Motion [respectively, Docket Nos. 48, 47, and 50] (collectively,
 27
      the “Oppositions”).
 28



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    1          5. The Parties are in discussions regarding the issues raised in the Oppositions and
    2   believe that additional time may allow for the resolution of these issues and to that end, stipulate as
    3   follows.

    4          STIPULATION

    5          The Parties hereby stipulate and agree that the hearing on the Motion be continued from
    6   September 13, 2016, to October4, 2016, at 1:00p.m., in the same location.
    7          SO STIPULATIED.

    8
        DATED: September 2, 2016                   GOE & FORSYTHE, LLP
    9

   10
                                                   By: /s/Robert P. Goe
   11                                                     Robert P. Goe
                                                          Attorneys for Russel Dennis Hiles, III,
   12
                                                          Debtor and Debtor-in-Possession
   13

   14   DATED: September 2,2016                    UNITED STATES DEPARTMENT OF JUSTICE
                                                   OFFICE OF THE UNITED STATES TRUSTEE
   15

   16
                                                   By:
   17                                                     Jason K. Schrader
                                                          Trial Attorney
   18

   19
        DATED: September 2,2016                    NORTON ROSE FULBRIGHT US LLP


   20

   21                                                    /jishua
                                                                In
                                                                     m
                                                                     Dyiiichtman
                                                           attorney for Farmers Insurance Exchange
   22

   23
        DATED: September 2,2016                     LAW OFFICES OF SAMUEL KORNHAUSER
   24

   25
                                                    By:^
   26                                                      Samuel Komhauser
                                                          Attorney for Christopher T. Borgeson
   27

   28
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                                        PROOF OF SERVICE OF DOCUMENT
  1
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  2   address is: 18101 Von Karman Avenue, Suite 1200, Irvine, CA 92612

  3   A true and correct copy of the foregoing document entitled (specify): STIPULATION BETWEEN AND
      AMONG DEBTOR, THE OFFICE OF THE UNITED STATES TRUSTEE, FARMERS INSURANCE
  4   EXCHANGE AND CHRISTOPHER BORGESON TO CONTINUE HEARING ON DEBTOR’S MOTION
      FOR AUTHORITY TO: (1) EMPLOY CONCIERGE AUCTIONS, LLC TO AUCTION DEBTOR’S
  5   PROPERTY (66876 Gist Rd., Bend, OR 97703) AND PAYMENT OF MARKETING FEES AND
      AUCTIONEER FEES (BUYERS PREMIUM); (2) EMPLOY CASCADE SOTHEBY’S INTERNATIONAL
  6   REALTY AS REAL ESTATE BROKER; (3) SELL THE PROPERTY AT AUCTION SUBJECT TO
      COURT APPROVAL AND ALLOWING ACCEPTANCE OF BACK-UP BIDDERS;
  7   (4) ESTABLISH BIDDING PROCEDURES; (5) SCHEDULE HEARING DATE FOR APPROVAL OF
      AUCTION; (6) PAY SECURED CREDITOR, PROPERTY TAXES, AND CLOSING COSTS; AND
  8   (7) APPROVE OF SALE FREE AND CLEAR OF LIENS PURSUANT TO 11 U.S.C. SECTION 363(f) will
      be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
  9   and (b) in the manner stated below:

 10   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
 11   hyperlink to the document. On (date) September 6, 2016, I checked the CM/ECF docket for this bankruptcy
      case or adversary proceeding and determined that the following persons are on the Electronic Mail Notice
 12   List to receive NEF transmission at the email addresses stated below:

 13          Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com
             Samuel Kornhauser skornhauser@earthlink.net
 14          William F McDonald Caecf@tblaw.com, wfm@tblaw.com;snchampney@tblaw.com
             Jason K Schrader jason.K.Schrader@usdoj.gov
 15          United States Trustee (RS) ustpregion16.rs.ecf@usdoj.gov
             Rebecca J Winthrop rebecca.winthrop@nortonrosefulbright.com,
 16           darla.rodrigo@nortonrosefulbright.com
             Jennifer C Wong bknotice@mccarthyholthus.com
 17
      2. SERVED BY UNITED STATES MAIL:
 18   On (date) September 6, 2016, I served the following persons and/or entities at the last known addresses in
      this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
 19   envelope in the United States mail, first class, postage prepaid, and addressed as follows: Listing the judge
      here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
      document is filed.
 20
      Daimler Trust, c/o BK Servicing, LLC, PO Box 131265, Roseville, MN 55113
 21   Lavar Taylor, 3 Hutton Center Drive Suite 500, Santa Ana, CA 92707
 22   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL:
      (state the method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
 23   (date) September 6, 2016, I served the following persons and/or entities by personal delivery, overnight
      mail service, or (for those who consented in writing to such service method), by facsimile transmission
 24   and/or email as follows: Listing the judge here constitutes a declaration that personal delivery on, or
      overnight mail to, the judge will be completed no later than 24 hours after the document is filed.
 25
           Honorable Wayne Johnson, USBC, 3420 Twelfth Street, Riverside, CA 92501
 26
      I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
 27
       September 6, 2016         Susan C. Stein                              /s/Susan C. Stein
 28    Date                     Printed Name                                 Signature




                                                            4
